       Case 1:21-cr-00140-JMS Document 1 Filed 12/09/21 Page 1 of 4      PageID #: 1


                                                                          FILED IN THE
                                                                 UNITED STATES DISTRICT COURT
1    MERRICK B. GARLAND                                               DISTRICT OF HAWAII

     Attorney General of the United States                            Dec 9, 2021, 9:20 am
                                                                  Michelle Rynne, Clerk of Court
2
     TRACY L. WILKISON
3    United States Attorney
     Central District of California
4
     SCOTT M. GARRINGER
5    Chief, Criminal Division
     Central District of California
6
     MARK A. WILLIAMS
7    DENNIS MITCHELL
     ERIK M. SILBER
8    Special Attorneys Appointed Under 28 U.S.C. § 515
     1300 United States Courthouse
9    312 North Spring Street
     Los Angeles, California 90012
10   Telephone: (213) 894-3359/2484/2231
     E-mail:   mark.a.williams@usdoj.gov
11             dennis.mitchell@usdoj.gov
               erik.silber@usdoj.gov
12
     Attorneys for Plaintiff
13   UNITED STATES OF AMERICA

14                           UNITED STATES DISTRICT COURT

15                            FOR THE DISTRICT OF HAWAII

16   UNITED STATES OF AMERICA,                CR NO. 21-00140 JMS

17              Plaintiff,                    I N F O R M A T I O N

18              v.                            [7 U.S.C. §§ 136j(a)(2)(G),
                                              136l(b)(1)(A): Using a Pesticide
19   MONSANTO COMPANY,                        in a Manner Inconsistent with its
                                              Labeling]
20
                Defendant.                    [CLASS A MISDEMEANORS]
21

22

23

24         The United States Attorney charges:

25                             COUNTS ONE THROUGH THIRTY

26                   [7 U.S.C. §§ 136j(a)(2)(G), 136l(b)(1)(A)]

27         On or about the dates identified below, in Honolulu County,

28   within the District of Hawaii, defendant MONSANTO COMPANY, a
      Case 1:21-cr-00140-JMS Document 1 Filed 12/09/21 Page 2 of 4   PageID #: 2



1    registrant, knowingly used the registered pesticide LPI Glufosinate

2    280, with the alternate brand name of Forfeit 280 (“Forfeit 280”), in

3    a manner inconsistent with its labeling, specifically, on the dates

4    identified in the table below, MONSANTO COMPANY sprayed Forfeit 280

5    on its field corn fields and thereafter MONSANTO COMPANY workers

6    entered the fields less than six days later to engage in field corn

7    scouting contrary to the restricted-entry interval (or “REI”) on the

8    label:

9

10   Count       Date Sprayed      Field Sprayed                     Date Corn
                 Forfeit 280                                         Scouting
11                                                                   Occurred
12
     ONE         June 4, 2020      Haleiwa Field 20K01A04G           June 8, 2020
13
     TWO         June 4, 2020      Haleiwa Field 20K04A01G           June 8, 2020
14
     THREE       June 4, 2020      Haleiwa Field 20K08C04G           June 8, 2020
15
     FOUR        June 4, 2020      Haleiwa Field 20K06B03G           June 8, 2020
16
     FIVE        June 4, 2020      Haleiwa Field 20K04A38L           June 8, 2020
17
     SIX         June 5, 2020      Haleiwa Field 20K03A25G           June 8, 2020
18
     SEVEN       June 5, 2020      Haleiwa Field 20K05B09L           June 8, 2020
19
     EIGHT       June 5, 2020      Haleiwa Field 20K07B02G           June 8, 2020
20
     NINE        June 5, 2020      Haleiwa Field 20K07C19L           June 8, 2020
21
     TEN         June 5, 2020      Haleiwa Field 20K07C01G           June 8, 2020
22
     ELEVEN      June 5, 2020      Haleiwa Field 20K07D01G           June 8, 2020
23
     TWELVE      June 6, 2020      Haleiwa Field 20K03A32G           June 8, 2020
24
     THIRTEEN    June 9, 2020      Haleiwa Field 20O06A03G           June 15, 2020
25
     FOURTEEN    June 9, 2020      Haleiwa Field 20K13B01L           June 15, 2020
26
     FIFTEEN     June 17, 2020     Lower Kunia Field                 June 19, 2020
27
                                   5F01-12-R-L-20_PF
28

                                            2
     Case 1:21-cr-00140-JMS Document 1 Filed 12/09/21 Page 3 of 4   PageID #: 3



1    Count      Date Sprayed      Field Sprayed                     Date Corn
                Forfeit 280                                         Scouting
2                                                                   Occurred
3
     SIXTEEN    June 17, 2020     Lower Kunia Field                 June 22, 2020
4
                                  5F01-12-R-L-20_PF
5

6    SEVENTEEN June 17, 2020      Lower Kunia Field                 June 19, 2020

7                                 5F02-13-R-L-20_PF

8    EIGHTEEN   June 17, 2020     Lower Kunia Field                 June 22, 2020

9                                 5F02-13-R-L-20_PF

10   NINETEEN   June 17, 2020     Lower Kunia Field                 June 19, 2020

11                                5F03-14-R-L-20_PF

12   TWENTY     June 17, 2020     Lower Kunia Field                 June 22, 2020

13                                5F03-14-R-L-20_PF

14   TWENTY-    June 17, 2020     Lower Kunia Field                 June 19, 2020

15   ONE                          5F04-15-RHS-L-20_PF

16   TWENTY-    June 17, 2020     Lower Kunia Field                 June 22, 2020

17   TWO                          5F04-15-RHS-L-20_PF

18   TWENTY-    June 17, 2020     Lower Kunia Field                 June 19, 2020

19   THREE                        5H01-24-RHS-L-20_PF

20   TWENTY-    June 17, 2020     Lower Kunia Field                 June 22, 2020

21   FOUR                         5H01-24-RHS-L-20_PF

22   TWENTY-    June 23, 2020     Lower Kunia Field                 June 24, 2020

23   FIVE                         7A01-25-R-L-20_PF

24   TWENTY-    June 23, 2020     Lower Kunia Field                 June 26, 2020

25   SIX                          7A01-25-R-L-20_PF

26   TWENTY-    June 23, 2020     Lower Kunia Field                 June 24, 2020

27   SEVEN                        7A02-26-RHS-L-D-20_PF

28

                                           3
      Case 1:21-cr-00140-JMS Document 1 Filed 12/09/21 Page 4 of 4   PageID #: 4



1    Count       Date Sprayed      Field Sprayed                     Date Corn
                 Forfeit 280                                         Scouting
2                                                                    Occurred
3
     TWENTY-     June 23, 2020     Lower Kunia Field                 June 26, 2020
4
     EIGHT                         7A02-26-RHS-L-D-20_PF
5
     TWENTY-     June 23, 2020     Lower Kunia Field                 June 24, 2020
6
     NINE                          7B01-27-RHS-L-D-20_PF
7
     THIRTY      June 23, 2020     Lower Kunia Field                 June 26, 2020
8
                                   7B01-27-RHS-L-D-20_PF
9

10
                                         MERRICK B. GARLAND
11                                       Attorney General of the United States

12                                       TRACY L. WILKISON
                                         United States Attorney
13                                       Central District of California

14

15
                                         SCOTT M. GARRINGER
16                                       Assistant United States Attorney
                                         Chief, Criminal Division
17                                       Central District of California

18                                       MARK A. WILLIAMS
                                         DENNIS MITCHELL
19                                       ERIK M. SILBER
                                         Special Attorneys Appointed Under 28
20                                       U.S.C. § 515

21

22   United States v. Monsanto Company
     “Information”
23

24

25

26

27

28

                                            4
